
219 S.W.3d 288 (2007)
In the Interest of T.P., R.P., and J.N.; Plaintiffs
J.P. and P.P., Appellants,
v.
H.N. and N.N.; Missouri Children's Division, Respondents.
No. WD 67090.
Missouri Court of Appeals, Western District.
April 17, 2007.
*289 Davis S. Murphy, Kearney, MO, for plaintiffs.
Brian J. Klopfenstein, Kearney, MO, for appellants.
Andrew A. Schroeder, North Kansas City, MO, for respondents, H.N. &amp; N.N.
Gary L. Gardner, Jefferson City, MO, for respondent, Missouri Children's Division.
Before THOMAS H. NEWTON, P.J., RONALD R. HOLLIGER, J., and GENEMARTIN, Sp. J.

ORDER
PER CURIAM.
This case involves the rights of the paternal grandparents to intervene in an adoption proceeding. The paternal grandparents appeal the denial of their motion to intervene.
For reasons stated in the memorandum provided to the parties, we affirm. Rule 84.16(b).
